         CASE 0:11-cv-03659-DWF-TNL Doc. 1136 Filed 02/26/21 Page 1 of 1




                                                February 26, 2021


Via NextGen ECF with Permission
The Honorable Donovan W. Frank
Senior U.S. District Judge, District of Minnesota
United States District Court
724 Warren E. Burger Federal Building
and U.S. Courthouse
316 North Robert Street, Suite 724
St. Paul, MN 55101

        Re:    Karsjens, et al. v. Harpstead, et al.
               Court File No. 0:11-cv-03659

Dear Judge Frank:

        I write in response to Plaintiffs’ February 25, 2021 letter (Doc. 1135).

        Defendants do not object to Plaintiffs’ request for “a status conference to discuss the
steps necessary to move the case forward,” and also do not object to the parties submitting a
letter setting forth their positions on that subject matter, as well as proposed agenda items, one
week before the status conference. See id.

                                                          Sincerely,


                                                          s/ Aaron Winter
                                                          AARON WINTER
                                                          Assistant Attorney General
                                                          Atty. Reg. No. 0390914
                                                          (651) 757-1453 (Voice)
                                                          (651) 282-5832 (Fax)
                                                          aaron.winter@ag.state.mn.us

                                                          Attorney for Defendants


cc:     Counsel of Record (via ECF)

|#4914990-v1


                                  445 Minnesota Street, Suite 1400, St. Paul, MN 55101-2131
                   Office: (651) 296-3353 • Toll Free: (800) 657-3787 • Minnesota Relay: (800) 627-3529
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